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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION
                             CIVIL ACTION NO. 3:16-CV-00138-GNS-RSE

  ADRIANNE POPECK                                                                          PLAINTIFF

  v.

  RAWLINGS COMPANY LLC; and
  DEBRA FORD                                                                             DEFENDANTS

                                             JUDGMENT

          This matter having come before the Court on the parties’ motions for summary judgment

  (DN 110, 111, 112, 113, 115, 116, 117, 118), and the Court previously granted summary judgment

  for Plaintiff on Count V and for Defendants on all other counts of the Second Amended Complaint.

  (Mem. Op. & Order, DN 143). The Court on this date has issued an Order awarding attorneys’

  fees and costs to the parties.

          IT IS HEREBY ORDERED as follows:

          1.      Judgment shall be entered in favor of Plaintiff on Count V and in favor of

  Defendants on all other counts of the Second Amended Complaint consistent with the Court’s

  Memorandum Opinion and Order (DN 143).

          2.      Plaintiff is awarded attorneys’ fees and costs in the amounts of $17,970.00 and

  $3,328.77, respectively.

          3.      Defendants are awarded costs totaling $17,220.33.

          This is a final and appealable order.




  cc:     counsel of record                                           January 18, 2019
